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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MARY JONES,                                     §
                                                §
       Plaintiff,                               §
                                                §    CIVIL ACTION NO.3:15-CV-03494-D
V.                                              §
                                                §
SAFECO INSURANCE COMPANY,                       §
OF AMERICA                                      §
     Defendant.                                 §    JURY DEMANDED 


            AGREED STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Mary Jones and Defendant Safeco Insurance Company of America

(“Defendant”) hereby file this Agreed Stipulation of Dismissal Without Prejudice pursuant to

Federal Rule of Civil Procedure 41(a)(1)(ii).

       1.      Plaintiff filed suit against Defendant related to an insurance claim for property

       damage allegedly caused by storm-related conditions which occurred on or about October

       6, 2014.

       2.      Plaintiff no longer wishes to pursue her claim against Defendant.

       3.      Plaintiff moves to dismiss the entire suit without prejudice. Defendant agrees to

       the dismissal.

       4.      This case is not a class action, and a receiver has not been appointed.

       5.      This dismissal is without prejudice. The parties will bear their own costs of suit.
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Respectfully submitted,

/s/ Brittené V. Wilson                               /s/ Jackson P. Mabry (w/ Perm. by BVW)
Scott G. Hunziker                                    Jackson P. Mabry
Texas Bar No. 24032446                               Texas Bar No. 24078894
Brittené V. Wilson
Texas Bar No. 24073326                               TILLMAN BATCHELOR LLP
Federal ID No. 1609462                               1320 Greenway Drive, Suite 830
                                                     Irving, Texas 75038
THE VOSS LAW FIRM, P.C.                              Telephone: (214) 492-5720
The Voss Law Center                                  Facsimile: (214) 492-5721
26619 Interstate 45 South                            Email: colin.batchelor@tb-llp.com
The Woodlands, Texas 77380                                   jackson.mabry@tb-llp.com
Telephone: (713) 861-0015
Facsimile: (713) 861-0021                            ATTORNEYS FOR DEFENDANT,
Email: scott@vosslawfirm.com                         SAFECO INSURANCE COMPANY OF
       brittene@vosslawfirm.com                      AMERICA

ATTORNEYS FOR PLAINTIFF,
MARY JONES

                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF on this the 6th day of February, 2016 to:

       Colin R. Batchelor
       Jackson P. Mabry
       Tillman Batchelor LLP
       1320 Greenway Drive
       Suite 830
       Irving, Texas 75038


                                             /s/ Brittené V. Wilson
                                             BRITTENÉ V. WILSON 
